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                            Exhibit 33
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                                                                ADMISSION RECORD
                                                .         cienda del Sol - Youngtown, AZ - ALF .




                                                                                                          Same as Previous Address
 Sex   Blrth~ate   . Age            "'arltal Status                                        Rac;e                  Occu~~lon(s)
  M         2005     12
           Admitted From                                                                   Birth Plac;e            C::itizef\shlp    Malden Name
                                                                                           Guatemala




                                                                97
                                                    Signature                                                    Date                 Time



                           Personal Effacts..Sent With                              Relationship   _             Date                 Time




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